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MEMORANDUM OPINION
&nbsp;
No. 04-08-00269-CV

Bruce L. CHRISTENSEN,
Appellant

v.

Patricia K. CHRISTENSEN,
Appellee

From the 166th Judicial District Court, Bexar County, Texas
Trial Court No. 2005-CI-17948
Honorable Larry Noll, Judge Presiding
&nbsp;
Opinion by: &nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice
&nbsp;
Sitting: &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sandee Bryan Marion, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Steven C. Hilbig, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice

Delivered and Filed:&nbsp;&nbsp;&nbsp;February 4, 2009

AFFIRMED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bruce L. Christensen appeals the trial court’s order denying his bill of review.  Christensen
filed the underlying bill of review in an effort to challenge an Agreed Final Divorce Decree. 
Christensen raises four issues on appeal asserting the trial court erred in denying his bill of review
because: (1) he was not notified of the trial setting at which the decree was signed; (2) no reporter’s
record was made of the hearing; (3) he was not notified that the decree had been signed; and (4) the
division of the marital estate was not fair and just or equal.  We affirm the trial court’s order.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A bill of review is an equitable proceeding brought by a party seeking to set aside a prior
judgment that is no longer subject to challenge by a motion for new trial or appeal.  Caldwell v.
Barnes, 154 S.W.3d 93, 96 (Tex. 2004).  A bill of review plaintiff must plead and prove (1) a
meritorious defense to the underlying cause of action, (2) which the plaintiff was prevented from
making by the fraud, accident or wrongful act of the opposing party or official mistake, (3) unmixed
with any fault or negligence on their own part.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Christensen first asserts that the trial court erred in denying his bill of review because he was
not notified of the trial setting.  As the trial court noted, however, the underlying judgment was an
Agreed Final Decree of Divorce that Christensen signed approving as to form and substance.  The
agreed decree stated, “Respondent, BRUCE L. CHRISTENSEN, although duly and properly cited,
did not appear, but as witnessed by his signature, has agreed to the disposition of this action.”  By
signing the agreed decree approving it as to substance, Christensen had knowledge of the
proceedings but elected not to contest the decree; therefore, he waived any error in the proceedings,
including any absence of notice.  In re C.R.B., 256 S.W.3d 876, 877-78 (Tex. App.—Texarkana
2008, no pet.); Cisneros v. Cisneros, 787 S.W.2d 550, 552 (Tex. App.—El Paso 1990, no writ).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Christensen next contends that the trial court erred because no reporter’s record was made
from the hearing resulting in the signing of the decree.  The rule and case law cited by Christensen,
however, do not apply in bill of review cases.  See Sanders v. Jefferson, 599 S.W.2d 663, 664
(Tex.&nbsp;Civ. App.—Texarkana 1980, writ dism’d).  “That rule applies to [a] case being appealed,
where the appellate court needs a statement of facts in order to review the correctness of the
judgment below.”  Id.  “If [Christensen] was entitled to a bill of review, [he] would have no need for
a statement of facts of the divorce action because the action itself would be retried in the bill of
review.”  Id.  In this case, we have a reporter’s record from the case being appealed, i.e., a reporter’s
record from the bill of review hearing.  See id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Christensen next contends that he did not receive notice of the judgment.


  This complaint,
however, would not entitle him to a bill of review because it does not raise a meritorious defense to
the divorce decree.  See Caldwell, 154 S.W.3d at 96. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, Christensen complains that the trial court’s division of the marital estate was not fair
and just.  Allegations that the decree provided an inequitable and unfair division of the marital estate
will not support relief for a party by a bill of review.  See In re Marriage of Noonan, No.&nbsp;07-07-0294-CV, 2008 WL 2967115, at *4 (Tex. App.—Amarillo Aug. 4, 2008, pet. filed) (mem. op.);
see&nbsp;also Boaz v. Boaz, 221 S.W.3d 126, 131 (Tex. App.—Houston [1st Dist.] 2006, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s order is affirmed.
Marialyn Barnard, Justice


